
OPINION OF THE COURT
KORVICK, Judge.
Appellant seeks review of a final judgment entered in behalf of Appellee denying recovery of a Deficiency balance owing from the appellee, Mary Jane Bradshaw.
Appellant raises the issue: Is a Bank regulated by Florida Statute 516.31, and states that the Appellant, Southeast First National Bank of Miami, is a banking institution, which the Florida legislature specifically intended to exclude from the provisions of Chapter 516.
This Appellate Panel, having reviewed the briefs and having heard *159arguments of counsel, reverses the finding of the trial court, and holds that the appellant, Southeast First National Bank of Miami, is a banking institution and that banking institutions are not governed by the provisions of Chapter 516.
Accordingly, we reverse the finding of the trial court and direct the court to enter a deficiency judgment against the appellee, Mary Jane Bradshaw.
REVERSED
Judges Goldman and Orr concur.
